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                   IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MINNESOTA

 Yvonne Becker, Christopher Nobles, Rosa             Civ. No. 20-2016 (DWF/BRT)
 Ramirez, Valerie Seyler and Jannien Weiner,

                      Plaintiffs,
                                                        ORDER ON JOINT
        v.                                         STIPULATION REGARDING
                                                    EXTENSION OF TIME FOR
 Wells Fargo & Co.; Employee Benefit                 DEFENDANTS TO SERVE
 Review Committee; Wells Fargo Bank,                ADDITIONAL DOCUMENT
 National Association and John and Jane Does         REQUESTS AND RULE 45
 1-20.                                                SUBPOENAS SEEKING
                     Defendants.                   DOCUMENTS RELATED TO
                                                      VALERIE SEYLER AND
                                                        JANNIEN WEINER



      Upon consideration of the Parties’ Joint Stipulation Regarding Extension of Time

For Defendants To Serve Additional Document Requests and Rule 45 Subpoenas

Seeking Documents Related to Valerie Seyler and Jannien Weiner (Doc. No. 180), IT IS

HEREBY ORDERED that Defendants’ time to serve additional document requests and

Rule 45 Subpoenas seeking documents related to Valerie Seyler and Jannien Weiner that

stem from their respective responses to the discovery requests served on September 24,

2021, is extended by 24 days from October 1, 2021 up to and including October 25,

2021, and Plaintiffs’ time to respond to any such additional document requests and to

produce responsive, non-objectionable documents is November 17, 2021.



Dated: October 1, 2021                       s/ Becky R. Thorson___________________
                                             BECKY R. THORSON
                                             United States Magistrate Judge
